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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


  ERNESTO M.DIAZ,etal..

                 Plaintiffs,

         V.                                                      l:18-cv-1274(LMB/TCB)

  RODNEY L. NAYLOR,

                 Defendant.


                                              ORDER


        Before the Court is a Report and Recommendation ("Report") issued by a magistrate

judge on February 7, 2019 [Dkt. No. 11], which recommends that defaultjudgment be entered

against defendant Rodney L. Naylor("Naylor")for violations ofthe Fair Labor Standards Act

("FLSA")and that plaintiffs^ recover unpaid wages,overtime wages,liquidated damages,and

attorney's fees and costs. S^ Report at 12-13. The parties were advised that any objections to

the Report had to be filed within 14 days and that failure to file a timely objection waived the

right to appeal any judgment based upon the Report. Id,at 14. As of February 26, 2019, no party

 has filed an objection. The Court has reviewed the Report, the plaintiffs' motion for default

judgment, and the case file, and adopts the Report in full.

        The magistrate judge correctly determined that the Court has subject matter jurisdiction

over this action under 28 U.S.C. § 1331 because it involves a federal question arising under the

FLSA.Id at 2. The magistrate judge also correctly concluded that this Court has personal



'Although the eight named plaintiffs allege that they are "pursuing this action as an FLSA
collective action on behalf ofthemselves and all other similarly situated individuals," Compl.
[Dkt. No. 1]144, plaintiffs did not move to proceed as a collective action and this civil action is
being treated solely as their individual lawsuit. S^ Report at 1 n.3.
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